                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

                     CASE NO.: 8:23-cv-00046-SCB-MRM

    JAMES COOKSEY,

            Plaintiff,

    v.

    EXPERIAN INFORMATION
    SOLUTIONS INC; EQUIFAX
    INFORMATION SERVICES LLC,
    TRANS UNION LLC; and
    HEALTHCARE REVENUE
    RECOVERY GROUP LLC D/B/A
    ACCOUNT RESOLUTION SERVICES1,

             Defendant(s).
    _____________________________________/

       JOINT NOTICE OF SETTLEMENT AS TO DEFENDANT
    HEALTHCARE REVENUE RECOVERY GROUP, LLC D/B/A ARS
              ACCOUNT RESOLUTION SERVICES

         Plaintiff, James Cooksey, and Defendant, Healthcare Revenue

Recovery Group, LLC, d/b/a ARS Account Resolution Services, by and

through their undersigned counsel, hereby notify the Court that the




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 Defendant’s correct name is Healthcare Revenue Recovery Group, LLC
d/b/a ARS Account Resolution Services.
aforementioned Parties have reached a settlement in the above-captioned

matter.

      The parties are in the process of finalizing the terms of settlement

and respectfully request that this Court allow thirty (30) days to complete

the settlement, during which time Parties request this Court retain

jurisdiction over this matter until fully resolved. The Parties anticipate that

a joint stipulation to voluntary dismissal with Prejudice will be filed within

thirty (30) days.

Dated this 9th day of March 2023.



/s/ Thomas J. Patti                       /s/ Ernest H. Kohlmyer, III
Thomas J. Patti, Esquire                  Ernest H. Kohlmyer, III, Esquire
Florida Bar No. 118377                    Florida Bar No. 110108
tom@pzlg.legal                            Skohlmyer@shepardfirm.com
Patti Zabaleta Law Group                  service@shepardfirm.com
3325 Northwest 55th Street                Shepard, Smith, Kohlmyer & Hand,
Fort Lauderdale, Florida 33309            P.A.
Telephone: 561-542-8550                   2300 Maitland Center Parkway, Suite
Attorneys for Plaintiff                   100
                                          Maitland, Florida 32751
                                          Telephone (407) 622-1772
                                          Facsimile (407) 622-1884
                                          Attorneys for Defendant, Healthcare
                                          Revenue Recovery Group, LLC d/b/a
                                          ARS Account Resolution Services


/s/ Victor Zabaleta,
Victor Zabaleta, Esquire


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Florida Bar No. 118517
victor@pzlg.legal
Patti Zabaleta Law Group
3325 Northwest 55th Street
Fort Lauderdale, Florida 33309
Telephone: 561-542-8550
Attorneys for Plaintiff

                     CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been

electronically filed on March 9, 2023, with the Clerk of the Court by using

the electronic filing system. I further certify that the foregoing has been

sent via electronic transmission to the following: Thomas J. Patti, Esquire

and   Victor   Zabaleta,    Esquire       at   tom@     Tom@pzlg.legal,     and

Victor@pzlg.legal; (Attorneys for Plaintiff), Grant Edward Lavelle Schnell,

Esquire at gschnell@jonesday.com (Attorneys for Defendant Experian

Information    Solutions,   Inc.)   Jason      Daniel    Joffe,   Esquire    at

jason.joffe@squirepb.com (Attorneys for Defendant Equifax Information

Services LLC), and     Alexandria Epps, Esquire at aepps@qslwm.com

(Attorneys for Defendant Trans Union LLC).

                                           /s/ Ernest H. Kohlmyer, III
                                           Ernest H. Kohlmyer, III, Esq.,
                                           LL.M.
                                           Florida Bar No.: 110108
                                           skohlmyer@shepardfirm.com
                                           service@shepardfirm.com



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    Shepard, Smith, Kohlmyer &
    Hand, P.A.
    2300 Maitland Center Parkway,
    Suite 100
    Maitland, Florida 32751
    Telephone (407) 622-1772
    Facsimile (407) 622-1884
    Attorneys for Defendant,
    Healthcare Revenue Recovery
    Group, LLC d/b/a ARS Account
    Resolution Services




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